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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION
                       _____________________________________


SUSAN NEESE, M.D., et al.,

        Plaintiffs,

v.                                         Civil Action No. 2:21-cv-163-Z

XAVIER BECERRA, et al.,

        Defendants.


                        DEFENDANTS’ MOTION TO DISMISS
                        THE FIRST AMENDED COMPLAINT




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                                          INTRODUCTION

        Federal law prohibits discrimination on the basis of sex in federally funded health programs

or activities. See 42 U.S.C. § 18116(a) (incorporating, inter alia, Title IX’s prohibition of discrimination

on the basis of sex, 20 U.S.C. § 1681(a), into federal health care law under § 1557 of the Affordable

Care Act). The Supreme Court recently interpreted Title VII’s parallel prohibition on discrimination

“because of . . . sex” to bar discrimination on the basis of sexual orientation and gender identity. See

Bostock v. Clayton County, 140 S. Ct. 1731 (2020). As the Court explained, it is “impossible” to discriminate

against a person for being gay or transgender “without discriminating against that individual based on

sex.” Id. at 1741 (emphasis added).

        Consistent with the Supreme Court’s holding in Bostock, the Department of Health and Human

Services (“HHS”) announced that it would interpret § 1557 and Title IX’s prohibition of

discrimination on the basis of sex to include discrimination because of sexual orientation and gender

identity. As HHS explained, this interpretation is consistent with the Supreme Court’s construction

of substantively identical language under Title VII in Bostock, as well as subsequent federal court

decisions and guidance from the Department of Justice applying Bostock to Title IX. But HHS also

made clear that, while its statutory interpretation of § 1557 and Title IX would be guided by Bostock,

its announcement “did not determine the outcome of any particular case or set of facts.” First

Amended Compl., Ex. A at 1, ECF No. 11-1 (“Notification”). Nor could it—mere policy statements

and interpretive rules have no legal force apart from the underlying statutes or rules they seek to clarify.

        Plaintiffs—two physicians in Texas, and one in California—allege that HHS has misread

Bostock and that it “remains perfectly legal after Bostock to ‘discriminate’ against homosexual or

transgender individuals, so long as one does not engage in ‘sex’ discrimination when doing so.” First

Amended Compl. (“FAC”) ¶ 20, ECF No. 11. That is not correct, but the Court need not reach

Plaintiffs’ misinterpretation of Bostock because their argument is strictly academic. Plaintiffs fail to

plead any injury because they do not, and cannot, allege that HHS has or will imminently enforce the

prohibition against sex discrimination against them. Further still, Plaintiffs do not allege that they

engage in any practice or conduct likely to place them at risk of enforcement, which means they lack


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standing. Plaintiffs’ claims are unripe for the same reasons. Even if they could allege an adequate

injury, their First Amended Complaint fails to identify any available form of redress—no enforcement

proceeding against them exists to be enjoined. Plaintiffs instead ask this Court to simply validate their

own intellectual disagreement with HHS’s announced statutory interpretation. But federal courts do

not give advisory opinions to resolve such abstract quarrels.

         Even setting aside the many Article III deficiencies with the First Amended Complaint,

subject-matter jurisdiction is still lacking under the APA both because Plaintiffs fail to challenge final

agency action and also because Congress has already provided them an adequate, and exclusive,

remedy for any real dispute with HHS; namely, an administrative process with de novo judicial review.

That process permits Plaintiffs to raise their statutory arguments against a concrete set of facts, rather

than in the abstract manner they do here. The Court should therefore dismiss the First Amended

Complaint for lack of jurisdiction.

         Finally, even if jurisdiction exists, the Notification goes no further than Bostock and existing

interpretations of Title IX permit. Plaintiffs’ claims are premised on a misreading of the Supreme

Court’s decision in Bostock and they therefore fail to plausibly allege the Notification is contrary to law.

                                            BACKGROUND
I.       Section 1557 And Title IX’s Prohibition Of Discrimination On The Basis Of Sex

         Section 1557 states that no individual shall be “excluded from participation in, be denied the

benefits of, or be subjected to discrimination under” any federally funded health program or activity

on the grounds in several long-standing civil rights laws, including Title IX of the Education

Amendments of 1972. 42 U.S.C. § 18116(a) (citing 20 U.S.C. § 1681). Title IX, in turn, prohibits

discrimination “on the basis of sex.” 20 U.S.C. § 1681(a). Section 1557 thus provides that “an

individual shall not [on the basis of sex] be excluded from participation in, be denied the benefits of,

or be subjected to discrimination” in federally funded health programs and activities. 42 U.S.C. §

18116(a).

         Section 1557 also incorporates the “enforcement mechanisms provided for and available

under” the civil rights laws it cites, including Title IX. 42 U.S.C. § 18116(a); see also 45 C.F.R. § 92.5(a).


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These enforcement mechanisms, including Title IX’s, permit an enforcing agency—here, HHS and its

Office for Civil Rights (“OCR”)—to terminate, or refuse to grant, federal funds to entities that

discriminate on the basis of sex. See, e.g., 20 U.S.C. § 1682; see also 45 C.F.R. §§ 80.6-80.8. But the

enforcing agency must take several steps before withholding federal funds. First, it must “advise[] the

appropriate person or persons of the failure to comply with the requirement” not to discriminate

because of sex and “determine[] that compliance cannot be secured by voluntary means.” Id. If the

party does not voluntarily comply, HHS may withhold funding only after “there has been an express

finding on the record, after opportunity for hearing, of a failure to comply” with Title IX. Id. The

agency then must inform the appropriate Congressional committees of the grounds for its action. Id.

A party aggrieved by this administrative process may obtain “judicial review as may otherwise be

provided by law” or “in accordance with chapter 7 of Title 5,” i.e., the APA. Id. § 1683; see id. § 1682

(further providing for enforcement “by any other means authorized by law”).

II.     The Supreme Court’s Decision In Bostock v. Clayton County
        In Bostock and its accompanying cases, two gay men and a transgender woman alleged that,

because of their sexual orientation and gender identity, respectively, their employers discriminated

against them the basis of sex in violation of Title VII. See 140 S. Ct. at 1737–38. The Supreme Court

was thus tasked with “determin[ing] the ordinary public meaning of Title VII’s command that it is

‘unlawful’” for an employer to discriminate against an individual “because of such individual’s . . .

sex.” Id. at 1738 (quoting 42 U.S.C. § 2000e-2(a)(1)). The Court assumed that the term “sex”

“refer[red] only to biological distinctions between male and female.” Id. at 1739. It next explained

that the statute’s use of the term “because of” permitted a broad “standard of but-for causation.” Id.

(citation omitted). In other words, “[s]o long as the plaintiff’s sex was one but-for cause of that

decision, that is enough to trigger the law.” Id. And the Court further explained that the “focus” of

this but-for inquiry “should be on individuals, not groups.” Id. at 1740 (citing § 2000e-2(a)(1)). These

conclusions yielded a “straightforward rule”: “An employer violates Title VII when it intentionally

fires an individual employee based on sex.” Id. at 1741. “[P]ut differently, if changing the employee’s

sex would have yielded a different choice by the employer[,] a statutory violation has occurred.” Id.


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        Applying that rule to the gay and transgender claimants, the Court concluded “it is impossible

to discriminate against a person for being homosexual or transgender without discriminating against

that individual based on sex.” Bostock, 140 S. Ct. at 1741. To explain its conclusion, the Court offered

the hypothetical of two otherwise identical employees, one male and one female, “both of whom are

attracted to men.” Id. “If the employer fires the male employee for no reason other than the fact he

is attracted to men, the employer discriminates against him for traits or action it tolerates in his female

colleague.” Id. The Court also considered the example of two employees—“a transgender person

who was identified as a male at birth but who now identifies as a female” and “an otherwise identical

employee who was identified as female at birth.” Id. If “the employer intentionally penalizes a person

identified as male at birth for traits or actions that it tolerates in an employee identified as a female at

birth,” then the employer has discriminated because of sex. Id. at 1741–42.

        In evaluating what it meant to “discriminate against” a person, the Court stressed the

individualized nature of the inquiry, explaining that Title VII does not “focus on differential treatment

between the two sexes as groups.” Bostock, 140 S. Ct. at 1741. Instead, the “statute works to protect

individuals of both sexes from discrimination, and does so equally.” Id. Thus, an “employer musters

no better a defense by responding that it is equally happy to fire male and female employees who are

homosexual or transgender.” Id. at 1742.

III.    The Department Of Health And Human Services’ Notification

        On January 20, 2021, President Biden ordered agencies to review their interpretations of sex-

discrimination laws in view of Bostock. See Exec. Order 13988, 86 Fed. Reg. 7023. Subsequently, on

May 10, 2021, HHS issued a document titled Notification of Interpretation and Enforcement of Section 1557

of the Affordable Care Act and Title IX of the Education Amendments of 1972. See Notification. The

Notification explained that it was intended to “inform the public” that “consistent with the Supreme

Court’s decision in Bostock and Title IX,” HHS “will interpret and enforce Section 1557’s prohibition

on discrimination on the basis of sex to include: (1) discrimination on the basis of sexual orientation;

and (2) discrimination on the basis of gender identity.” Id. at 1. The Notification did not further

refine the meaning or scope of discrimination on the basis of sexual orientation or gender identity,


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nor did it provide examples of such impermissible conduct in the Title IX or § 1557 context. Instead

it states that while the “interpretation will guide OCR in processing complaints and conducting

investigations, [it] does not itself determine the outcome in any particular case or set of facts.” Id.

Indeed, the Notification does not say anything about enforcement proceedings in any particular case.

        To further explain its interpretation of § 1557 and Title IX, the Notification noted that the

Supreme Court’s decision in Bostock held that “the plain meaning of ‘because of sex’ in Title VII’

necessarily included discrimination because of sexual orientation and gender identity.” Notification

at 2 (citing Bostock, 141 S. Ct. at 1753–54). It observed that several federal courts had since concluded

that the plain language of Title IX—which bars discrimination “on the basis of sex”—must be read

similarly. Id. at 2–3. And, further, the Notification cited an interagency memorandum from the Civil

Rights Division of the United States Department of Justice concluding that the reasoning of Bostock

applies with equal force to Title IX. Id. Finally, the Notification states that OCR “will comply with

the Religious Freedom Restoration Act (42 U.S.C. § 2000bb et seq.) and all other legal requirements,”

including several court orders concerning HHS rulemaking under § 1557. See Notification at 3–4.

IV.     Plaintiffs And This Litigation

        Plaintiffs in this lawsuit are three physicians—Susan Neese, M.D. and James Hurly M.D.,

based in Texas, and Jeffrey Barke, M.D., based in California. See FAC ¶¶ 3–5. Dr. Neese and Dr.

Hurly have “views on transgenderism [that] are nuanced.” Id. ¶¶ 22, 27. Dr. Neese and Dr. Barke are

“unwilling to prescribe hormone therapy to minors” or to “provide referrals to minors seeking a sex-

change operation,” while Dr. Hurly does not identify any treatment he is unwilling to engage in. FAC

¶¶ 23, 31. No Plaintiff alleges that a minor patient of theirs has ever sought “hormone therapy” or a

“referral [for] a sex-change operation,” though Dr. Neese and Dr. Barke speculate that, in the future,

they will “encounter minor transgender patients who will request hormone therapy and referrals for

sex-change operations that [they are] unwilling to provide.” Id. ¶¶ 25, 33. All three plaintiffs claim they

have treated transgender patients in the past and “expect[] to continue doing so in the future.” Id.

¶¶ 25, 29, 33. All three Plaintiffs predict they will have transgender patients who “will deny or dispute

their need for preventive care that corresponds to their biological sex,” and that the plaintiffs will


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“provide care to these individuals in a manner consistent with [the doctor’s] ethical beliefs.” Id. The

only allegation that a patient has previously denied or disputed their need for preventive care in that

fashion is a single anecdote from Dr. Hurly, stating that he shared a prostate cancer diagnosis with a

“biological male patient … [who] identified as a woman and insisted that he could not have a prostate.”

Id. ¶ 27. The plaintiffs allege that the Notification injures each of them by creating “in terrorem effects

on each of the plaintiffs— who can only wonder whether they or their practices will lose federal

money if they ever refuse to provide gender-affirming care to a transgender patient.” Id. ¶ 34. They

also claim to be injured because the Notification “is entitled to Skidmore deference” that will “make it

more difficult for medical professionals who lose their federal funding over transgender issues to

challenge that decision.” Id. ¶ 35. No Plaintiff alleges that they have views on sexual orientation that

impact their medical practices.

        Plaintiffs filed this lawsuit on August 25, 2021, alleging that the Notification’s interpretation

of § 1557 exceeds the bounds of the statutory text and Bostock. See generally Compl. ¶¶ 7–19, ECF No.

1. After Defendants filed a motion to dismiss raising merits and jurisdictional challenges, Plaintiffs

filed a First Amended Complaint adding a California doctor as a plaintiff and adding some details

relating to the plaintiff doctors’ concerns, but the claims remain unchanged. At its core, the First

Amended Complaint alleges that “Bostock does not prohibit employers from discriminating on account

of sexual orientation or gender identity, so long as they do not engage in ‘sex’ discrimination when

doing so.” FAC ¶ 13; see also id. ¶ 20. The First Amended Complaint purports to illustrate this

principally through a series of scenarios involving hypothetical employers and healthcare providers

engaged in discrimination based on sexual orientation or gender identity that purportedly is not sex

discrimination. See, e.g., id. ¶ 14 (describing unnamed “employer” engaging in discrimination against

bisexual people); id. ¶ 15 (describing “[a]n employer” who refuses to hire “any person … who takes

testosterone supplements … [or] who has undergone surgery to modify their genitals”). With respect

to healthcare providers specifically, the First Amended Complaint asks the Court to “[c]onsider] a

health-care provider who refuses to prescribe testosterone hormones to a biological woman who

wishes to appear as a man,” id. ¶ 17; to “consider a health-care provider who refuses to refer a


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biological man for a sex-change operation,” id. ¶ 18; and to “consider a health-care provider who

refuses to prescribe Truvada or PrEP drugs to homosexual men,” id. ¶ 19. The First Amended

Complaint does not allege that the plaintiffs engage in such practices. See id. ¶¶ 21–33. Instead, the

First Amended Complaint states only that Dr. Neese and Dr. Barke are “unwilling to prescribe

hormone therapy to minors” or to “provide referrals to minors seeking a sex-change operation,” and

that all three plaintiffs generally will “provide care … in a manner consistent with [the doctor’s] ethical

beliefs.” Id. ¶¶ 25, 29, 33.

                                         LEGAL STANDARDS
         Rule 12(b)(1) requires dismissal of a complaint where the court “lacks the statutory or

constitutional power to adjudicate the case[,]” Home Builders Ass’n of Miss., Inc. v. City of Madison, 143

F.3d 1006, 1010 (5th Cir. 1998) (citation omitted), including for lack of standing, see Lujan v. Defs. of

Wildlife, 504 U.S. 555, 561 (1992). For its part, Rule 12(b)(6) requires dismissal of complaints that

“fail[] to state a claim upon which relief can be granted.” A plaintiff must allege sufficient “facts to

state a claim to relief that is plausible on its face” and which, taken as true, “raise a right to relief above

the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007). The Court does not

need to accept a plaintiff’s legal conclusions. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                              ARGUMENT

I.       The First Amended Complaint Should Be Dismissed Under Rule 12(b)(1) Because
         Plaintiffs Lack Standing And Their Challenge Is Unripe

         A.      Plaintiffs lack standing to challenge the Notification because any harm to them
                 is speculative and their desired remedy would not redress it.
         To establish standing under Article III, a plaintiff must allege that it has suffered a concrete

injury, or that such an injury is “imminent” or “certainly impending.” See Clapper v. Amnesty Int’l, 568

U.S. 398, 409 (2013). Where, as here, Plaintiffs seek only injunctive or declaratory relief, they cannot

establish standing on the basis of alleged past injury alone. Bauer v. Texas, 341 F.3d 352, 358 (5th Cir.

2003).    Instead, Plaintiffs must show an injury with “continuing, present adverse effects,” or

“substantial likelihood that [they] will suffer injury in the future.” Id.; see also Machete Prods., L.L.C. v.

Page, 809 F.3d 281, 288 (5th Cir. 2015) (plaintiff must show a “real and immediate threat” of similar


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injury in the future (citation omitted)).

        Here, Plaintiffs have not alleged a past injury with “continuing, present adverse effects,” Bauer,

341 F.3d at 358, because they have not alleged they have already suffered any “concrete,

particularized,” or “actual” injury. Clapper, 568 U.S. at 409. Apparently in response to Defendants’

making this point in their Motion to Dismiss—ECF No. 8 at 6–7—Plaintiffs have added a new

argument in their First Amended Complaint that the Notification inflicted “immediate, present-day

injury” by creating “in terrorem effects”—essentially, that Plaintiffs are harmed because they will

“wonder” how HHS will interpret § 1557 in particular factual scenarios going forward. FAC ¶ 34. But,

for the fear of future injury to give standing, a plaintiff still must show that it has suffered harm because

of a fear of future injury that is itself “certainly impending.” Clapper, 568 U.S. at 416. In other words,

despite the new label, Plaintiffs still must make the same showing as for any other theory for injunctive

relief based on potential future injury. For such a threatened future injury to provide standing, it “must

be certainly impending,” and “[a]llegations of possible future injury are not sufficient.” Crane v. Johnson,

783 F.3d 244, 251–52 (5th Cir. 2015) (quoting Clapper, 133 S. Ct. at 1147). Such standing cannot be

based on a “speculative chain of possibilities.” Barber v. Bryant, 860 F.3d 345, 357 (5th Cir. 2017).

        Here, Plaintiffs’ theory of future harm is doubly deficient, because it relies on two forms of

speculation. First, Plaintiffs point to the Notification’s general statements on the impermissibility of

discrimination because of sexual orientation and gender identity, yet they provide no basis to conclude

that HHS will treat particular practices and factual scenarios as prohibited discrimination in future

enforcement proceedings; indeed, the Notification says just the opposite. And second, Plaintiffs do

not adequately allege that any of their own practices put them at risk of an enforcement proceeding;

instead, they recount abstract hypotheticals and anecdotes about the medical treatment of gay and

transgender individuals, and they speculate that they might one day have patients seeking treatment

Plaintiffs would prefer not to provide. Both shortcomings are individually fatal to their challenge.

        On the first point, Plaintiffs have not alleged how OCR will apply the Notification’s reasoning

to particular factual situations. Plaintiffs cannot rely on a theory of standing that is dependent on

speculation and future contingencies regarding how an agency will apply a challenged policy. See Trump


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v. New York, 141 S. Ct. 530, 534 (2020). In Trump, the Supreme Court considered plaintiffs’

constitutional challenge to a Presidential Memorandum concerning the census that declared a policy

of excluding “‘from the apportionment base [noncitizens] who are not in a lawful immigration status.’”

Id. The Court found that the plaintiffs’ theory of standing was “riddled with contingencies and

speculation that impede judicial review.” Id. at 535. Although the President had stated his policy in

plain terms, it was not then clear how the policy would be put into practice, “let alone” whether it

would be put into practice “in a manner substantially likely to harm any of the plaintiffs here.” Id. at

535. As the Court explained, “the Government’s eventual action will reflect both legal and practical

constraints, making any prediction about future injury just that—a prediction.” Id. at 536.

        The same analysis applies with equal force here. The Notification states only that HHS

considers § 1557 to prohibit discrimination on the basis of sexual orientation and gender identity, but

does not say what types of practices and what legal theories will trigger enforcement proceedings in

the future. To the contrary, the Notification states that it “does not itself determine the outcome in

any particular case or set of facts.” Notification at 1. General statements regarding prohibited

discrimination leave unresolved many case-by-case questions about the scope of such prohibitions;

the Notification does not purport to prospectively resolve those questions here, and Plaintiffs have

identified no such statements from HHS. Instead, they principally list hypotheticals speculating about

what activities OCR might find to constitute prohibited discrimination in future actions. The

Notification does not address any of those hypotheticals, which are “riddled with contingencies and

speculation” regarding HHS’s future actions in hypothesized proceedings. Trump, 141 S. Ct. at 535.

        Plaintiffs identify several of their own policies in their First Amended Complaint, but they still

fail to allege or make any showing that HHS will consider those practices to be violations of § 1557

under the theories of sexual-orientation or gender-identity discrimination. Two plaintiffs assert that

they are “unwilling to prescribe hormone therapy to minors” or to “provide referrals to minors seeking

a sex-change operation.” FAC ¶¶ 23, 31. But Plaintiffs have not stated, nor provided factual allegations

plausibly claiming, that the effect of the Notification will be to prohibit those two policies. The same

is true for their vague implication that the Notification means they cannot provide care to individuals


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“who will deny or dispute their need for health care that corresponds to their biological sex,” id. ¶¶ 25,

29, 33—if Plaintiffs believe the Notification will prevent them from informing a transgender patient

with a prostate that the patient has prostate cancer, they have not alleged how. And they cannot prove

standing by alleging that the fear of such a future interpretation will cause them to inflict injury on

themselves now by changing their practices in ways they disfavor. Plaintiffs cannot circumvent the

need for “certainly impending” future injury by inflicting injury on themselves due to a fear of future

injury unless that future injury itself is “certainly impending.” Clapper, 568 U.S. at 416. So, regardless

of whether Plaintiffs present their alleged injury as one they are currently suffering or want to avoid

suffering, it relies on finding that OCR will determine that particular practices violate those

prohibitions—an inquiry that will necessarily entail resolving subsidiary factual and legal questions,

and thus an injury too speculative to be “certainly impending.”

        But even if Plaintiffs had adequately alleged that the Notification necessarily means the agency

will treat certain practices as conclusively constituting sexual orientation or gender identity

discrimination, Plaintiffs have not adequately alleged that such a prohibition would injure them,

because they have not alleged a sufficient likelihood that they would engage in such prohibited

practices. Dr. Neese and Dr. Barke allege that they are “unwilling to prescribe hormone therapy to

minors” or to “provide referrals to minors seeking a sex-change operation,” FAC ¶¶ 23, 31, but neither

Plaintiff alleges that they have ever encountered a minor patient seeking such treatment. Only Dr.

Neese alleges any past experience with prescribing hormone treatment for transgender patients at all,

and then only by vaguely claiming to have had an unspecified number of transgender patients in the

past and to have “on occasion” prescribed hormone therapy for them, id. ¶ 22; she makes no claim

that she has ever had a minor transgender patient seek hormone therapy or a surgical referral at all,

that it is a regular part of her practice, that she has ever been asked to “provide referrals [for] a sex-

change operation,” or that she has ever declined to provide any treatment or referral to a minor, all of

which would be crucial for assessing her conclusory allegation that she “is likely to encounter minor

transgender patients who will request hormone therapy and referrals for sex-change operations that

she is unwilling to provide.” FAC ¶ 25. This Court should reject that factually unmoored speculation


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about a hypothetical future patient. See, e.g., Bruni v. Hughs, 468 F. Supp. 3d 817, 824 (S.D. Tex. 2020)

(“At the pleading stage, when considering ‘any chain of allegations for standing purposes,’ the Court

may ‘reject as overly speculative those links which are predictions of future events.’” (quoting Arpaio

v. Obama, 797 F.3d 11, 21 (D.C. Cir. 2015)).

        The same deficiencies exist for Dr. Barke, whose allegations mirror Dr. Neese’s except that

he never alleges he has ever had a transgender patient seek hormone therapy, depriving him of even

that inadequate factual allegation. And for Dr. Hurly, unlike Dr. Neese and Dr. Barke, he does not

allege that there is any treatment or referral he would refuse to any patient. Even if HHS were to

interpret § 1557 to require doctors to prescribe hormone therapy to minor transgender patients and

to provide referrals for sex-change operations to minor patients regardless of the circumstances, no

plaintiff has alleged facts sufficient to show it is certainly impending they will face such a scenario.

And of course, as discussed above, even such an interpretation of § 1557 would raise antecedent and

subsidiary questions in individual cases regarding whether particular refusals constitute a violation—

Plaintiffs do not allege, for example, that they believe the Notification means a doctor must prescribe

hormone therapy to every patient who comes through their door.

        The First Amended Complaint lacks any other factual allegations relating to Plaintiffs’

practices or policies that they fear would run afoul of § 1557’s prohibition on gender-identity

discrimination. All three make only a vague assertion that they will encounter patients who “will deny

or dispute their need for health care that corresponds to their biological sex,” and that they “intend[]

to provide care to these individuals in a manner consistent with [their] ethical beliefs.” FAC ¶¶ 25, 29,

33. Plaintiffs do not state what those allegations mean, or how they demonstrate that Plaintiffs have

policies they believe may violate § 1557’s prohibition on gender-identity discrimination. It is possible

those allegations relate to Dr. Hurly’s anecdote regarding a transgender patient with prostate cancer

who resisted the diagnosis, id. ¶ 27, and the other Plaintiffs’ vague statements that they would

recommend cervical cancer screenings and prostate cancer screenings where physiologically

appropriate regardless of a patient’s gender identity. Id. ¶¶ 24, 32. But absent is any explanation or

factual allegation that such a policy would be considered discrimination. If Plaintiffs believe the


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Notification means they cannot recommend a prostate cancer screening for a transgender patient with

a prostate, they have not explicitly claimed nor plausibly alleged that assertion. And, as with Dr.

Neese’s and Dr. Barke’s policies discussed above, Plaintiffs have not plausibly alleged a likelihood they

will encounter transgender patients who demand Plaintiffs not recommend physiologically

appropriate screenings inconsistent with the patient’s gender identity.

        In short, Plaintiffs have alleged neither a founded nor an unfounded fear regarding the

application of § 1557 to any of their own actions, and thus have alleged no more than an academic

interest in the Notification. Federal courts do not serve as debating societies to consider such points.

See Valley Forge Christian Coll. v. Americans United for Separation of Church & State, Inc., 454 U.S. 464, 472

(1982). Plaintiffs offer only speculation about how OCR’s future actions might treat hypothetical

practices that Plaintiffs do not claim to engage in. That is insufficient to sustain this case.

        Plaintiffs have also failed to allege traceability because they have not identified an injury

attributable to the Notification or an injury that would be redressed by vacating the Notification.

Plaintiffs must plausibly allege an injury that is fairly traceable to the challenged action and that it is

“likely, as opposed to merely speculative, that the[ir] injury will be redressed by a favorable decision.”

Lujan, 504 U.S. at 561 (citation omitted). But even if Plaintiffs had identified a way in which they

faced a certainly impending future harm, they have not identified a form of relief available in this case

that will benefit them because their quarrel is with Bostock and the statute itself, not with the

Notification. They request relief that would treat the Notification, which is an unreviewable agency

statement of policy, as a legislative rule that can be revoked and rendered nugatory—they ask that the

Court “hold unlawful and set aside” the statement of policy, and enjoin HHS “from using or

enforcing” that statement of policy. FAC ¶¶ 50(b)-(c). But the Notification, being only a statement

of policy, is not binding on anyone and carries no legal force; if an agency attempts to enforce an

interpretation embodied in a statement of policy, it “must be prepared to support the policy just as if

the policy statement had never been issued.” Panhandle Producers & Royalty Owners Ass’n v. Econ. Regul.

Admin., 847 F.2d 1168, 1175 (5th Cir. 1988) (quoting Pacific Gas & Electric Co. v. FPC, 506 F.2d 33,

38–39 (D.C. Cir. 1974)); see also Christensen v. Harris County, 529 U.S. 576, 587 (2000) (“[I]nterpretations


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contained in policy statements, agency manuals, and enforcement guidelines … lack the force of law

[and] do not warrant Chevron-style deference.”). That is also why the Notification does not inflict

present-day injury, as Plaintiffs claim, by creating an entitlement to Skidmore deference should the

Notification be invoked in a future proceeding. FAC ¶ 35. In such a scenario, if any party attempted

to rely on the Notification, a court would be bound to agree with the Notification only to the extent

the court is persuaded by it. Id.; see also Env’t Integrity Project v. United States Env’t Prot. Agency, 969 F.3d

529, 540 (5th Cir. 2020). If a later court invokes the Notification in deciding the scope of § 1557, it

will be because the Court was persuaded the Notification is correct, not because the Notification tied

its hands.

        In short, the presence or absence of the Notification has no effect on the legal rights and

obligations of Plaintiffs. Instead, the Notification reflects HHS’s judgment that the text of § 1557

itself prohibits discrimination on the basis of sexual orientation and gender identity, and that

prohibition will exist regardless of whether it is embodied in a statement of policy. Vacating the

Notification and requiring HHS to forgo any invocation of it in future proceedings would accomplish

nothing for Plaintiffs because HHS could still decide to bring enforcement proceedings under the

theory that § 1557 prohibits discrimination on the basis of sexual orientation and gender identity. And

such an argument would carry no more legal weight in the presence of the Notification than in the

absence of it, making clear that revoking the Notification would not redress any alleged injury.
        B.       The challenge to the Notification is not ripe for review.
        This Court should further dismiss Plaintiffs’ claims because this challenge is not yet ripe. A

claim is not ripe if it depends on “contingent future events that may not occur as anticipated, or indeed

may not occur at all.” Trump, 141 S. Ct. at 535 (quoting Texas v. United States, 523 U.S. 296, 300 (1998)).

Standing and ripeness are “[t]wo related doctrines of justiciability,” “each originating in the case-or-

controversy requirement of Article III.” Id. Although they are different doctrines, they “bear[] close

affinity” in asking “‘whether the harm asserted has matured sufficiently to warrant judicial

intervention.’” Miss. State Dem. Party v. Barbour, 529 F.3d 538, 544 (5th Cir. 2008) (quoting Warth v.

Seldin, 422 U.S. 490, 499 n.10 (1975)); see also MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 128 n.8


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(2007) (recognizing that in some cases “standing and ripeness boil down to the same question”). But

they are distinct inquiries, and even if Plaintiffs have standing, their claims are still unripe.

        For an agency action to be ripe for challenge, this Court must apply “a two-part test, balancing

‘the fitness of the issues for judicial decision’ with ‘the hardship to the parties of withholding court

consideration.’” Huawei Techs. USA, Inc. v. Fed. Commc’ns Comm’n, 2 F.4th 421, 434 (5th Cir. 2021)

(quoting Abbott Labs. v. Gardner, 387 U.S. 136, 149 (1967)). Both factors weigh against Plaintiffs here.

        First, Plaintiffs’ claims are not fit for judicial review. Their challenge raises non-legal questions

about future enforcement under § 1557 that require factual development to meaningfully review.

Their claims are presently too vague and abstract to review without further factual development.

Three prerequisites are necessary before an agency action is fit for judicial review: (1) “the questions

presented are ‘purely legal one[s]’”; (2) the challenged action is “final agency action”; and (3) “further

factual development would not ‘significantly advance [the court’s] ability to deal with the legal issues

presented.’” Texas v. United States, 497 F.3d 491, 498 (5th Cir. 2007) (alterations in original) (quoting

Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 812 (2003)). Even assuming the Notification

is a final agency action—but see infra § II.A—the Notification is still not fit for review because the

Court would necessarily need to resolve non-legal questions about HHS’s future enforcement of

§ 1557 that would require further factual development here. As discussed in the standing analysis

above, Plaintiffs merely speculate about how HHS might interpret § 1557 in future factual scenarios

with respect to discrimination based on gender identity and sexual orientation, without even alleging

facts to show that Plaintiffs’ own actions would ever run up against such interpretations. Simply put,

Plaintiffs seek an advisory opinion from the Court about whether various practices they or other

doctors might engage in are lawful, which is not a permissible basis for a challenge. Princeton Univ. v.

Schmid, 455 U.S. 100, 102 (1982) (“We do not sit to . . . give advisory opinions about issues as to which

there are not adverse parties before us.”).

        The Supreme Court has denied challenges as unripe where the theory of the case preceded

any certainty regarding how the challenged laws might actually be applied. For example, in National

Park Hospitality Association v. Department of Interior, 538 U.S. 803 (2003), the “purely legal” question at


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issue centered on whether the Contract Disputes Act of 1978 was applicable to concessions contracts.

But the Court still held that the need for factual development made the dispute unripe because there

might be some subsets of contracts for which the answer would be different, and because even the

facial challenge in that case relied on factual questions about different types of contracts. Id. at 812.

The same is true here—even if it is a purely legal question whether § 1557 prohibits discrimination on

the basis of sexual orientation and gender identity, there remain substantial questions regarding

whether particular policies and actions fall within those categories based on differing factual scenarios.

Cf. Bostock., 140 S. Ct. at 1753 (“Whether other policies and practices might or might not qualify as
unlawful discrimination or find justifications under other provisions of Title VII are questions for

future cases, not these.”). Indeed, Plaintiffs do not dispute that at least some discrimination on the

basis of sexual orientation and gender identity constitutes sex discrimination. See, e.g., FAC ¶ 13.

Although Plaintiffs misread Bostock in arguing that it permits purportedly sex-neutral discrimination

on the basis of sexual orientation or gender identity, Defendants agree that the application of § 1557

to claims of sexual orientation or gender identity discrimination depends on case-by-case factual

development for which this pre-enforcement challenge is premature.

        Plaintiffs’ claims here are analogous to the case in Texas v. United States, 523 U.S. 296 (1998),

another challenge the Court held was not ripe. Texas had amended its Education Code to permit the

state to impose a range of sanctions on school districts that were not meeting standards, including

appointing a special master or a management team to oversee the district’s operation, which would

displace the authority of the elected school board. Id. at 299. Texas sought a declaratory judgment

that the provision of the Education Code authorizing those two sanctions was not required to go

through pre-clearance under the Voting Rights Act. Id. The Court held that the claim for declaratory

judgment was not ripe. Texas essentially sought a holding that “under no circumstances can the

imposition of these sanctions constitute a change affecting voting” that would be subject to the pre-

clearance requirement, and the Court lacked “sufficient confidence in [their] powers of imagination

to affirm such a negative.” Id. at 301. Instead, the Court held that “operation of the statute is better

grasped when viewed in light of a particular application” because “[d]etermination of the scope . . . of


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legislation in advance of its immediate adverse effect in the context of a concrete case involves too

remote and abstract an inquiry for the proper exercise of the judicial function.” Id. (quoting

Longshoremen v. Boyd, 347 U.S. 222, 224 (1954)). Again, the same is true here. Rather than attempt to

prospectively set forth all the circumstances in which § 1557 prohibits discrimination on the basis of

sexual orientation and gender identity, or all the circumstances that would qualify as such

discrimination, this Court should wait until it is presented with a concrete dispute involving HHS’s

application of the statute to a specific set of facts.

        As weighed against that unfitness for review, there is no reason to consider this claim ripe

because of any speculative “hardship to the parties of withholding court consideration.” Huawei Techs.,

2 F.4th at 434. There is no hardship to Plaintiffs in withholding review. Their only allegation of harm

is the assertion that the Plaintiffs are afraid because they do not know what is prohibited under § 1557’s

prohibitions on gender-identity and sexual-orientation discrimination—a fear that would exist in the

absence of the Notification as well. They have not identified any practice they engage in—or might

engage in—that is imperiled by the Notification itself. Such a speculative hardship is insufficient to

justify overriding the prematurity and speculation that makes this case unfit for judicial review. For

example, when the EPA issued a final rule governing the disposal of certain chemicals but stated that

the statute authorizing the rule did not permit preemption of state laws on the same subject matter,

the Fifth Circuit rejected as unripe a challenge to that statement of non-preemption. Cent. and S. W.

Servs., Inc. v. EPA, 220 F.3d 683, 690 (5th Cir. 2000). Because the plaintiff in that case had “identified

no State or local regulations that it contends [the statute] should preempt,” nor offered any evidence

of hardship, the claim was unripe. Id. The same is true here—Plaintiffs have not shown that any

practice of theirs is threatened, and they offer no explanation of what hardship they will suffer in the

absence of this litigation. Their claims are therefore not ripe for review.
II.     Subject Matter Jurisdiction Is Further Lacking Because Plaintiffs Fail To Challenge
        Final Agency Action For Which No Other Adequate Remedy Is Available
        Plaintiffs also fail to meet the APA’s jurisdictional requirements. Where, as here, Plaintiffs

raise claims under the general provisions of the APA, the statute permits them to challenge only “final



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agency action for which there is no other adequate remedy in a court.” 5 U.S.C. § 704. But the First

Amended Complaint fails to meet either of § 704’s requirements. First, it fails to challenge final agency

action. Second, Plaintiffs have an adequate, and exclusive, remedy under § 1557—the administrative

and judicial review provisions enacted by Congress. Plaintiffs’ failure to comply with § 704 deprives

the Court of jurisdiction over their claims. E.g., Texas v. EEOC, 933 F.3d 433, 440–41 n.8 (5th Cir.

2019).

         A.     The Notification does not qualify as final agency action because it has no
                binding legal effect on the Plaintiffs.
         The First Amended Complaint nowhere alleges that the Notification qualifies as final agency

action under the APA. Nor could it. As an interpretive rule and general statement of policy, the

Notification has no legal force against Plaintiffs in any prospective enforcement proceeding. Instead

the Notification merely alerts the public at large that HHS will read § 1557 and Title IX’s prohibition

of discrimination “on the basis of sex” in the same manner the Supreme Court in Bostock read Title

VII’s similar prohibition on discrimination “because of . . . sex.” 140 S. Ct. at 1738 (quoting 42 U.S.C.

§ 2000e-2(a)(1)). Plaintiffs plainly disagree with that interpretation, but the APA does not permit them

to launch the “programmatic challenge[]” they raise here against HHS’s anti-discrimination policies.

Sierra Club v. Peterson, 228 F.3d 559, 566 (5th Cir. 2000) (en banc) (citing Lujan, 497 U.S. at 891).

Regardless of their convictions, Plaintiffs “cannot seek wholesale improvement” of HHS’s policy “by

court decree, rather than in the offices of the Department or the halls of Congress, where

programmatic improvements are normally made.” Id. (quoting Lujan, 497 U.S. at 891).

         “[T]wo conditions . . . generally must be satisfied for agency action to be ‘final’ under the

APA. First, the action must mark the consummation of the agency’s decisionmaking process—it must

not be of a merely tentative or interlocutory nature. And second, the action must be one by which

rights or obligations have been determined, or from which legal consequences will flow.” U.S. Army

Corps of Eng’rs v. Hawkes Co., 136 S. Ct. 1807, 1813 (2016) (quotation marks omitted).

         The Notification does not qualify as final agency action, at minimum, because it does not

determine Plaintiffs’ rights and obligations. It merely “inform[s] the public that” HHS “will interpret



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and enforce § 1557’s prohibition on discrimination on the basis of sex” in a manner “consistent with

the Supreme Court’s decision in Bostock and Title IX.” Notification at 1–2 (internal footnotes

omitted). Such “interpretive rules or statements of policy generally do not qualify [as final agency

action] because they are not ‘finally determinative of the issues or rights to which they are addressed.’”

Am. Tort Reform Ass’n v. OSHA, 738 F.3d 387, 395 (D.C. Cir. 2013) (citing Edwards, Elliott, & Levy,

Federal Standards of Review 157 (2d ed. 2013)) (citation omitted). Indeed, the Notification itself

explains that while its “interpretation will guide OCR in processing complaints and conducting

investigations, [it] does not itself determine the outcome in any particular case or set of facts.”
Notification at 1.

        Similarly, the Notification supplies no legal authority that could be used against Plaintiffs

because “[i]nterpretive rules do not . . . have the force and effect of law and are not accorded that

weight in the adjudicatory process.” Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87, 88 (1995). Instead

they “are used to advise the public how an agency will apply its regulations in certain circumstances.”

Prof’ls & Patients for Customized Care v. Shalala, 56 F.3d 592, 601–02 (5th Cir. 1995). Plaintiffs’ legal

obligations do not stem from the Notification; they come from § 1557 and Title IX, as well as any

relevant judicial construction of those statutes’ text, such as the Supreme Court’s interpretation of

similar language in Bostock. The Notification only “reminds parties of existing statutory duties, [and]

merely tracks the statutory requirements and thus simply explain[s] something the statute already

required.” Id. at 602 (quoting Nat’l Family Planning & Reprod. Health Ass’n, Inc. v. Sullivan, 979 F.2d 227,

237 (D.C. Cir. 1992)) (cleaned up). It therefore “provides guidance on an old problem”—the scope

of sex discrimination under § 1557 and Title IX. Id. But “[t]he agency cannot apply or rely upon [the

Notification] as law because a general statement of policy only announces what the agency seeks to

establish as policy.” Panhandle Producers, 847 F.2d at 1174–75 (quoting Pacific Gas & Elec. Co. v. FPC,

506 F.2d 33, 38 (D.C. Cir. 1974)).

        Indeed, to best illustrate how the Notification is not final agency action, imagine that HHS

had never issued it at all. The agency could still interpret and enforce the phrase “on the basis of sex”

to include discrimination based on sexual orientation and gender identity to the degree permitted by


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the statutory text and the reasoning of Bostock. Cf. Chevron U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467

U.S. 837 (1984). If the agency exceeded its statutory ambit in any particular adjudication, the subject

of that action would, naturally, have the opportunity to challenge the agency’s authority. See infra

§ II.B. Thus, as explained, if HHS ever asserts the Notification’s interpretation in a proceeding, “it

must be prepared to support the policy just as if the policy statement had never been issued.” Panhandle

Producers, 847 F.2d at 1174; see also Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 253 (D.C. Cir. 2014)

(Kavanaugh, J.) (same); Env’t Integrity Project v. United States Env’t Prot. Agency, 969 F.3d 529, 540 (5th

Cir. 2020) (agency policy statements do not receive Chevron deference and have only the power to

persuade). But it is too soon to judge whether HHS has properly applied its interpretation of the law

to the necessarily fact-specific circumstances of any particular case. “An attack on the authority of an

agency to conduct an investigation does not obviate the final agency action requirement.” Veldhoen v.

U.S. Coast Guard, 35 F.3d 222, 225–26 (5th Cir. 1994) (citing Aluminum Co. of Am. v. United States, 790

F.2d 938, 942 (D.C. Cir. 1986) (Scalia, J.)). If HHS ever “interprets the law in an adjudication, a party

can challenge that interpretation as being inconsistent with the agency’s organic statute, or with its

regulations.” CSX Transp., Inc. v. Surface Transp. Bd., 774 F.3d 25, 33 (D.C. Cir. 2014). But “[i]n all

such cases . . . if the contested agency action takes place during the course of an adjudication, judicial

review comes only at the conclusion of the proceedings.” Id.
        To the extent Plaintiffs argue the Notification constitutes final agency action because they

must now allegedly conform their behavior to HHS’s view of the law (e.g., FAC ¶¶ 34–35), that

argument has long been rejected. The fact that the Notification broadly expresses HHS’s view on the

“legality” of certain conduct—namely, the scope of discrimination “on the basis of sex”—“does not

change the character of the [Notification] from a policy statement to a binding rule.” Ctr. for Auto

Safety v. NHTSA, 452 F.3d 798, 808 (D.C. Cir. 2006). Rather, “the case law is clear that [courts] lack

authority to review claims under the APA ‘where an agency merely expresses its view of what the law

requires of a party, even if that view is adverse to that party.’” Id. (quoting Indep. Equip. Dealers Ass’n

v. EPA, 372 F.3d 420, 427 (D.C. Cir. 2004) (Roberts, J.)); see also Luminant Generation Co. v. EPA, 757

F.3d 439, 442 n.7 (5th Cir. 2014) (same); AT&T Co. v. EEOC, 270 F.3d 973, 975 (D.C. Cir. 2001)


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(same). That is precisely what HHS did here—it shared its interpretation of longstanding statutory

text in view of new Supreme Court authority interpreting substantially similar language. Plaintiffs’

disagreement with that interpretation “does not [] itself adversely affect complainant[s] but only affects

[their] rights adversely on the contingency of future administrative action.” Peoples Nat. Bank v. Off. of

Comptroller of Currency, 362 F.3d 333, 337 (5th Cir. 2004) (quoting Rochester Tel. Corp. v. United States, 307

U.S. 125, 130 (1939)) (explaining such action is a “non-final agency order”); see also Luminant, 757 F.3d

at 442 (concluding notice was not final agency action because it did not “determine [plaintiff’s] rights

or obligations” and “no legal consequences flow from the issuance of the notice”). Any such future
enforcement action against Plaintiffs is, as the First Amended Complaint reveals, wholly conjectural,

and Plaintiffs have therefore failed to identify the necessary final agency action for their APA

challenge.

        B.      Section 1557 and Title IX provide an adequate, and exclusive, alternative
                remedy to Plaintiffs.
        Section 704 also “limits the APA to the review of those agency actions which otherwise lack

an ‘adequate remedy in a court.’” Hinojosa v. Horn, 896 F.3d 305, 310 (5th Cir. 2018) (citing Bowen v.

Massachusetts, 487 U.S. 879, 903 (1988)). Plaintiffs possess an adequate alternative remedy here—they

may defend against any future enforcement of § 1557 under the express administrative and judicial

review provisions provided by Congress. See 42 U.S.C. § 18116(a).

        “The adequacy of the [alternative] relief available need not provide an identical review that the

APA would provide, so long as the alternative remedy offers the ‘same genre’ of relief.” Hinojosa, 896

F.3d at 310 (quoting Citizens for Responsibility & Ethics in Wash. v. DOJ, 846 F.3d 1235, 1245 (D.C. Cir.

2017)). Thus, a “legal remedy is not inadequate for purposes of the APA because it is procedurally

inconvenient for a given plaintiff.” Martinez v. Pompeo, 977 F.3d 457, 460 (5th Cir. 2020) (quoting Town

of Sanford v. United States, 140 F.3d 20, 23 (1st Cir. 1998)). “At a minimum, the alternative remedy must

provide the petitioner ‘specific procedures’ by which the agency action can receive judicial review or

some equivalent.” Hinojosa, 896 F.3d at 310 (citing Bowen, 487 U.S. at 903)). Alternative relief is

“adequate” under § 704 if it, for example, “affords an opportunity for de novo district-court review” of



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agency action. Garcia v. Vilsack, 563 F.3d 519, 522–23 (D.C. Cir. 2009).

        Section 1557 sets out “specific procedures” for review of any enforcement proceeding by

HHS, Hinojosa, 896 F.3d at 310, including guaranteeing the “opportunity for de novo district-court

review” of any such enforcement, Garcia, 563 F.3d at 522–23. Section 1557 incorporates the

“enforcement mechanisms provided for and available under,” inter alia, Title IX. 42 U.S.C. § 18116(a).

Title IX, like the other statutes incorporated into § 1557, sets out provisions to enforce its prohibition

on discrimination “on the basis of sex.” See 20 U.S.C. §§ 1682–83; see also 45 C.F.R. § 80.6–80.8 (Title

VI regulations, incorporated by reference into the Title IX regulations at 45 C.F.R. § 86.71). Title IX’s

enforcement provisions permit agencies to withhold federal funding to entities discriminating on the

basis of sex but only after “there has been an express finding on the record, after opportunity for

hearing, of a failure to comply” with the title. 20 U.S.C. § 1682. And these enforcement provisions

further require the agency to first advise the subject about their lack of compliance and then

“determine[] that compliance cannot be secured by voluntary means.” Id. To the extent a person is

aggrieved by agency enforcement under Title IX’s enforcement provisions, Title IX grants “judicial

review as may otherwise be provided by law” or, alternatively, “judicial review of such action in

accordance with chapter 7 of Title 5,” i.e. the APA. Id. § 1683.
        Section 1557 thus “provides a direct and guaranteed path to judicial review.” Hinojosa, 896

F.3d at 312. Plaintiffs therefore “almost by definition . . . have an adequate remedy in a court.”

NAACP v. Meese, 615 F. Supp. 200, 203 (D.D.C. 1985) (explaining that defending against a

government motion is a “far more appropriate, far more logical remedy than a lawsuit here seeking

injunctive relief”); see also Temple Univ. of Commonwealth Sys. of Higher Educ. ex rel. v. Brown, No. CIV. A.

00-CV-1063, 2001 WL 185535, at *7 (E.D. Pa. Feb. 23, 2001) (concluding plaintiff possessed

alternative remedy precluding review under § 704 because it could “defend any . . . charges should the

government choose to pursue them”); New Jersey Hosp. Ass’n v. United States, 23 F. Supp. 2d 497, 501

(D.N.J. 1998) (“the ability and opportunity to raise a defense” to an action is “an adequate remedy in

a court”); Ass’n of Am. Med. Colleges v. United States, 34 F. Supp. 2d 1187, 1193 (C.D. Cal. 1998) (similar);

U.S. Steel Corp. v. Fri, 364 F. Supp. 1013, 1018–19 (N.D. Ind. 1973) (similar). At least one district court,


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after reviewing Title IX’s administrative scheme, concluded that it deprived the court of jurisdiction

over a pre-enforcement APA claim under § 704. See Bd. of Educ. of the Highland Local Sch. Dist. v. Dep’t

of Educ., 208 F. Supp. 3d 850, 860–64 (S.D. Ohio 2016).

        Further still, this procedure for adjudicative proceedings, followed by judicial review, reflects

Congress’s desire to preclude pre-enforcement judicial review of Plaintiffs’ claims. Where it is “fairly

discernable” that an elaborate statutory review scheme was intended to create an exclusive remedy,

parallel jurisdiction outside that scheme is precluded. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200,

207, 216 (1994); see also Elgin v. Dep’t of Treasury, 567 U.S. 1 (2012). In Thunder Basin, the Supreme Court

held that a statute providing for administrative proceedings followed by judicial review foreclosed a

parallel challenge to an agency’s statutory interpretation. See Thunder Basin, 510 U.S. at 207–08. There,

a mine operator challenged an agency’s interpretation of a statute that would potentially form the basis

for an enforcement action against it. Id. at 216. Confronted with a review process remarkably similar

to those incorporated into § 1557, the Court held that Congress’s intent to preclude pre-enforcement

judicial review was “fairly discernible in the statutory scheme” under the Mine Act. Id. at 207.

        Like here, no action had yet been taken against the plaintiff in Thunder Basin. And like here,

the claims “turn[ed] on a question of statutory interpretation.” Thunder Basin, 510 U.S. at 216. Here,

just as in Thunder Basin, “[n]othing in the language and structure of the Act or its legislative history

suggests that Congress intended to allow [regulated parties] to evade the statutory-review process by

enjoining the [agency] from commencing enforcement proceedings” based on the challenged

interpretation. Id. And like in Thunder Basin, a procedural scheme that “applies to all violations of the

Act and its regulations” provides the opportunity for judicial review. Id. at 209.

        As in Thunder Basin, this Court does not have jurisdiction to consider Plaintiffs’ anticipatory

challenge to the interpretation of § 1557. By providing for administrative review, followed by judicial

review, Congress intended to preclude pre-enforcement injunctive relief.             Plaintiffs style their

complaint as merely challenging the statutory interpretation announced in the Notification, but the

same was true in Thunder Basin. 510 U.S. at 205 (describing plaintiff’s pre-enforcement “challenge [to]

the [agency’s] interpretation of” a statute). This Court should therefore join others that have refused


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to allow funding recipients to circumvent the civil rights laws’ administrative processes. See, e.g., Taylor

v. Cohen, 405 F.2d 277 (4th Cir. 1968) (en banc); Sch. Dist. of City of Saginaw v. Dep’t of Health, Ed., &

Welfare, 431 F. Supp. 147 (E.D. Mich. 1977); Highland Local Sch. Dist., 208 F. Supp. 3d at 862; cf. Gen.

Fin. Cop. v. FTC, 700 F.2d 366, 368 (7th Cir. 1983) (“You may not bypass the specific method that

Congress has provided for reviewing adverse agency action simply by suing the agency in federal

district court . . . the specific statutory method, if adequate, is exclusive.” (citing 5 U.S.C. § 704)).

Section 1557’s provisions do not merely provide Plaintiffs an adequate remedy, they supply Plaintiffs

their exclusive remedy to any dispute over HHS’s interpretation of § 1557.

III.    The First Amended Complaint Fails To State A Claim Upon Which Relief Can Be
        Granted
        Plaintiffs assert two claims: (1) a violation of § 706(2)(A) of the APA and (2) a claim under the

Declaratory Judgment Act. See FAC ¶¶ 44–49. But Plaintiffs fail to plausibly plead either claim.
        A.      The Notification is in accordance with Bostock and Title IX.

        Plaintiffs cannot plausibly allege that the Notification is “not in accordance with the law.” 5

U.S.C. § 706(2)(A); see also FAC ¶¶ 44–46. The Notification explains that “consistent with the Supreme

Court’s decision in Bostock and Title IX,” HHS “will interpret and enforce Section 1557’s prohibition

on discrimination on the basis of sex to include: (1) discrimination on the basis of sexual orientation;

and (2) discrimination on the basis of gender identity.” Notification at 1. Read in view of Bostock, a

health care provider discriminates on the basis of sex when it discriminates against someone because

of their sexual orientation or their gender identity because it is “impossible to discriminate against a

person” on those grounds “without discriminating against that individual based on sex.” Bostock, 140

S. Ct. at 1741. The Notification therefore goes no further than permitted by Congress’s statute and

the Supreme Court’s interpretation of substantially similar text in Bostock.

        The reasoning in Bostock maps neatly onto Title IX given the two titles’ similar language,

structure, and purpose. To be sure, Title IX bars discrimination “on the basis of” sex rather than

“because of” sex, as in Title VII. Compare 20 U.S.C. § 1681(a) with 42 U.S.C. § 2000e-2(a)(1)). But the

two pieces of text mean the same thing and courts read them in parallel. Indeed, the Supreme Court



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itself in Bostock repeatedly used the term “on the basis of” interchangeably with “because of” when

discussing Title VII. E.g., 140 S. Ct. at 1737 (“There, in Title VII, Congress outlawed discrimination

in the workplace on the basis of race, color, religion, sex, or national origin.” (emphasis added)); id. at

1738 (similar); id. at 1745 (similar); id. at 1753 (similar); see also Meritor Sav. Bank, FSB v. Vinson, 477

U.S. 57, 64 (1986) (“[W]hen a supervisor sexually harasses a subordinate because of the subordinate’s

sex, that supervisor ‘discriminate[s]’ on the basis of sex.” (emphases added)); cf. Leatherwood v. Houston

Post Co., 59 F.3d 533, 536 (5th Cir. 1995) (“We have observed that the term ‘because of disability’ refers

to discrimination because of or on the basis of a physical or mental condition . . . .” (emphases added)).

Plaintiffs do not suggest any disparate meaning between the two phrases, nor could they.

        The interchangeability of the two phrases is consistent with the Fifth Circuit’s own holding

that “the prohibitions of discrimination on the basis of sex of Title IX and Title VII are the same.”

Lakoski v. James, 66 F.3d 751, 757 (5th Cir. 1995) (collecting cases and explaining that “Title IX’s

proscription of sex discrimination . . . does not differ from Title VII’s”); see also Franklin v. Gwinnett

Cnty. Pub. Sch., 503 U.S. 60, 75 (1992). Both § 1557 and Title IX, like Title VII, also make clear that

they are focused on discrimination against individuals, rather than discrimination against groups of

people. See 42 U.S.C. § 18116(a) (explaining “an individual shall not” be discriminated against); id. §

18116(b) (discussing remedies “available to individuals aggrieved” under, inter alia, Title IX); 20 U.S.C.

§ 1681(a) (explaining no “person[s]” shall be discriminated against on the basis of sex); see also Cannon

v. Univ. of Chi., 441 U.S. 677, 704 (1979) (stating that, in enacting Title IX, Congress “wanted to provide

individual citizens effective protection against those [discriminatory] practices” (emphasis added)).

        In view of the congruence between the two titles, many courts have already concluded that

Bostock’s interpretation of Title VII applies to Title IX. The Fourth Circuit, for example, concluded

that discriminating against a person for being transgender is discrimination “on the basis of sex” under

Title IX because “the discriminator is necessarily referring to the individual’s sex to determine

incongruence between sex and gender, making sex a but-for cause for the discriminator’s actions.”

Grimm v. Gloucester Cty. Sch. Bd., 972 F.3d 586, 616 (4th Cir. 2020) (citing Bostock, 140 S. Ct. at 1741–

42). The Supreme Court, months before this lawsuit was filed, declined to revisit the Fourth Circuit’s


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decision, which the Fourth Circuit itself likewise declined to reconsider en banc. See 976 F.3d 399

(2020) (denying rehearing en banc); 141 S. Ct. 2878 (2021) (denying petition for certiorari).1

        Numerous district courts have likewise applied Bostock to Title IX, including as incorporated

into § 1557, against specific sets of facts. See, e.g., B. P. J. v. W. Va. State Bd. of Educ., No. 2:21-CV-

00316, 2021 WL 3081883, at *7 (S.D. W. Va. July 21, 2021) (finding it “clear” that transgender student

was excluded from school athletics “on the basis of her sex” (citing Grimm, 972 F.3d at 616; Bostock,

140 S. Ct. at 1741)); C.P. v. Blue Cross Blue Shield of Ill., No. 3:20-CV-06145-RJB, 2021 WL 1758896, at

*4 (W.D. Wash. May 4, 2021) (“It would be logically inconsistent with Bostock to find
that Title IX permits discrimination for being transgender.” (citing Bostock, 140 S. Ct. at 1734)); Koenke

v. Saint Joseph’s Univ., No. CV 19-4731, 2021 WL 75778, at *2 (E.D. Pa. Jan. 8, 2021) (“Thus, Title IX’s

prohibition on sex discrimination constitutes a prohibition on sexual orientation discrimination.”

(citing Bostock, 140 S. Ct. at 1731)); Doe v. Univ. of Scranton, No. 3:19-CV-01486, 2020 WL 5993766, at

*5 n.61 (M.D. Pa. Oct. 9, 2020) (finding “persuasive” plaintiff’s argument that sexual orientation

claims are actionable under Title IX post-Bostock (collecting cases)). One district court decision even

characterized the Notification as effectively redundant and “beside the point,” because “Bostock already

made clear that the position stated in HHS’s interpretation was already binding law.” See Hammons v.

Univ. of Md. Med. Sys. Corp., No. CV DKC 20-2088, 2021 WL 3190492, at *17 (D. Md. July 28, 2021).

As these courts have recognized, the Notification says nothing about Title IX that the Supreme Court

has not already said in the parallel context of Title VII. It is therefore firmly in accordance with law.

        B.      Plaintiffs’ challenge to the Notification misreads Bostock.

1
 An Eleventh Circuit panel also applied Bostock to Title IX in the context of a sex discrimination claim
by a transgender student, explaining Bostock’s “reasoning applies with the same force to Title IX’s
equally broad prohibitions on sex discrimination.” Adams v. Sch. Bd. of St. Johns Cty., 968 F.3d 1286,
1305 (11th Cir. 2020) (explaining that “[b]oth titles . . . employ a ‘but-for causation standard,’
which Bostock found critical to its expansive interpretation of sex discrimination”). The panel later
vacated its opinion and resolved the case on constitutional grounds. See 3 F.4th 1299 (11th Cir. 2021)
(vacating opinion and “not reach[ing] the Title IX question”). The Eleventh Circuit has since voted
to hear the case en banc, vacating the later opinion as well. See 9 F.4th 1369 (11th Cir. 2021) (granting
rehearing en banc). While the original panel opinion has been vacated, it illustrates the appropriate
manner for reviewing Title IX disputes—applying a concrete claim and specific set of facts to the law.


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        Against all this, Plaintiffs do not even dispute that some sexual orientation and gender identity

discrimination claims are actionable under § 1557. Instead they vaguely contend that the Notification

extends beyond the scope of the holding in Bostock because it “remains perfectly legal after Bostock to

‘discriminate’ against homosexual or transgender individuals, so long as one does not engage in ‘sex’

discrimination when doing so.” FAC ¶ 20. But that argument is puzzling and untenable in view of

the Supreme Court’s conclusion that it is “impossible” to discriminate against a person for being gay or

transgender “without discriminating against that individual based on sex.” Bostock, 140 S. Ct. at 1741

(emphasis added). The Supreme Court reached this conclusion not by redefining the term “sex”—

indeed, it employed a definition of the term seemingly identical to Plaintiffs’—but by reasoning that

“sex is a but-for cause” of any discrimination based on sexual orientation or gender identity. Id.

        Unable to offer a coherent reading of Title IX or § 1557 in view of Bostock, Plaintiffs instead

offer a series of abstract hypotheticals that they allege show how one may permissibly discriminate

based on sexual orientation or gender identity without engaging in impermissible sex discrimination.

E.g., FAC. ¶¶ 14–15, 18–19. As explained, these hypotheticals mostly just reinforce why Plaintiffs

lack standing and final agency action for their unripe claims—Plaintiffs do not allege they are likely to

engage in these hypothetical scenarios anytime soon (or ever), or that HHS is likely to pursue

enforcement actions against them based on such conduct, or even that HHS views such acts as

violating § 1557. See supra §§ I, II.A. But the hypotheticals also show that Plaintiffs misread Bostock,

recycling arguments the Supreme Court already rejected and inverting the decision’s individualized

but-for discrimination test into one that broadly compares groups of people—precisely the approach

the Bostock Court declined to adopt. Because Plaintiffs cannot explain how the Notification, which

itself notes the individualized nature of every case, exceeds HHS’s statutory authority, their First

Amended Complaint fails to plausibly show that the Notification is “not in accordance with the law.”

5 U.S.C. § 706(2)(A).

        Plaintiffs begin their attack on the Notification’s statutory interpretation by observing that

none of the civil rights statutes incorporated into § 1557 mentions the terms “sexual orientation”

or “gender identity.” FAC ¶ 9. True enough. But the Supreme Court swiftly dispatched that very


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argument in Bostock, explaining that “Title VII prohibits all forms of discrimination because of sex,

however they manifest themselves or whatever other labels might attach to them.” Bostock, 140 S. Ct.

at 1747.    For example, it is no longer disputed that “sexual harassment” and “motherhood

discrimination” are sex-based discrimination despite those terms appearing nowhere in Title VII. Id.

        Plaintiffs next try to read a broad discriminatory safe harbor into Bostock by arguing that the

decision “makes clear that an employer does not violate Title VII if it fires an employee for conduct

or personal attributes that it would not tolerate in an employee of the opposite biological sex.” FAC

¶ 12 (citing Bostock, 140 S. Ct. at 1742) (emphasis in original); see also id. ¶¶ 15, 20. Bostock says no such

thing. In fact, the decision expressly rejects that view, stressing that Title VII does not “focus on

differential treatment between the two sexes as groups.” Bostock, 140 S. Ct. at 1741 (explaining it is

no defense “for an employer to say it discriminates against both men and women because of sex”).

        Imagine that an employer or health care provider discriminates against a man for his same-sex

attraction. Plaintiffs’ reading says that no actionable sex discrimination occurs if the employer or

health care provider also “would not tolerate [same-sex attraction] in an employee of the opposite

biological sex,” i.e., a woman attracted to other women. FAC ¶ 12. But that is plainly wrong because

the “statute works to protect individuals of both sexes from discrimination, and does so equally.”

Bostock, 141 S. Ct. at 1741. Thus, an “employer musters no better a defense by responding that it is

equally happy to fire male and female employees who are homosexual or transgender.” Id. at 1742.

Instead “each instance of discriminating against an individual employee because of that individual’s

sex” is a statutory violation. Id. at 1742. “So just as an employer who fires both Hannah and Bob for

failing to fulfill traditional sex stereotypes doubles rather than eliminates Title VII liability, an employer

who fires both Hannah and Bob for being gay or transgender does the same.” Id. at 1742–43.

Plaintiffs therefore severely misread Bostock in arguing that it permits sexual orientation and gender

identity discrimination provided such discrimination is equally levied against both men and women.

See id. at 1741 (explaining “the law’s focus on individuals rather than groups”).

        Plaintiffs then offer their list of hypotheticals but each suffers from two critical flaws. First,

each uses the flawed group-based framework urged by Plaintiffs above. Take their first hypothetical—


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Plaintiffs contend that under Bostock an employer does not discriminate against bisexual people “so

long as the employer regards bisexual behavior or orientation as equally unacceptable in a man or

woman.” FAC ¶ 14. Plaintiffs fail to explain this claim’s relevance, but they are also wrong—Bostock

rejected the argument that no violation occurs when an employer is “equally happy to fire male and

female employees” because of same-sex attraction. Bostock, 140 S. Ct. at 1742. Each remaining

hypothetical employs this group-contra-group tactic, but “Title VII’s plain terms and [Supreme Court]

precedents don’t care if an employer treats men and women comparable as groups.” Id. at 1748.

        Second, and most critically, the Notification says nothing about how Plaintiffs’ hypotheticals or
their own alleged policies—employment policies relating to bisexuality, testosterone supplements, and

gender-transition surgery; and, in the healthcare context, decisions about prescribing testosterone

supplements and pre-exposure prophylaxis medications, prescribing hormone therapy to minors, or

referring patients for gender-transition procedures—would be resolved. Instead the Notification

merely restates Bostock’s holding that sex discrimination also prohibits discrimination based on sexual

orientation and gender identity. See e.g., Hammons, 2021 WL 3190492, at *17. If Plaintiffs believe that

a restatement of Bostock compels a particular outcome in any of their hypotheticals or asserted

practices, then their quarrel is with Bostock and the text of Title IX, not the Notification. If, on the

other hand, Plaintiffs believe these practices are permitted under Bostock, then they have no grievance

with the Notification, which does not speak to their scenarios and instead says only that HHS will

read § 1557 to bar sexual orientation and gender identity discrimination “consistent with the Supreme

Court’s decision in Bostock and Title IX.” Notification at 1.

        In sum, Plaintiffs cannot explain how the Notification exceeds HHS’s statutory authority in

view of Bostock. Their hypotheticals—none of which are discussed in the Notification—purport to

show “permissible” sexual orientation or gender identity discrimination that does not qualify as

discrimination on the basis of sex, thus purportedly foiling HHS’s statutory interpretation. But they

do no such thing because, at this stage, there is no way of knowing whether such fictional policies, or

the policies Plaintiffs allege they do have, in factual context actually discriminate “on the basis of” sexual

orientation or gender identity.


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        C.      The Declaratory Judgment Act does not create a cause of action and Plaintiffs’
                claim under it must be dismissed.
        Plaintiffs purport to bring their second claim—styled as a Declaratory Judgment Act claim—

“under 28 U.S.C. § 2201.” FAC ¶ 49. But the Supreme Court long ago explained that § 2201 of the

Declaratory Judgment Act merely “enlarged the range of remedies in the federal courts but did not

extend their jurisdiction.” Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671 (1950); accord Aetna

Life Ins. Co. of Hartford, Conn. v. Haworth, 300 U.S. 227, 239–40 (1937) (explaining “the operation of the

Declaratory Judgment Act is procedural only” and reflects Congress’s exercise of its power to provide

remedies and define procedure for Article III cases and controversies). Accordingly, “the law makes

clear that—although the Declaratory Judgment Act provides a remedy different from an injunction—

it does not provide an additional cause of action with respect to the underlying claim.” Okpalobi v.
Foster, 244 F.3d 405, 423 n.31 (5th Cir. 2001); see also Harris Cty., Tex. v. MERSCORP Inc., 791 F.3d

545, 552 (5th Cir. 2015) (explaining the Act “does not create a federal cause of action.”).

        To be sure, plaintiffs may “obtain relief under the Declaratory Judgment Act,” but to do so

they “must first identify a cause of action under some other law.” Tex. Health & Hum. Servs. Comm’n,

166 F. Supp. 3d at 712. Even if Plaintiffs had adequately pled their APA claim, the Declaratory

Judgment Act speaks only to the form of relief available for the APA claim and “carries [them] no

further.” Schilling v. Rogers, 363 U.S. 666, 677 (1960); Okpalobi, 244 F.3d at 423 n.31. Accordingly, “the

Court must dismiss the claim for a declaratory judgment.” Carson v. Fed. Nat’l Mortg. Ass’n, No. SA-

11-CA-925-H, 2012 WL 13029757, at *2 (W.D. Tex. Jan. 26, 2012) (explaining that where “the request

for a declaratory judgment adds nothing to the existing suit, and is merely duplicative of the

substantive claims already at issue, the request for a declaratory judgment need not be entertained”).

                                            CONCLUSION

        For the foregoing reasons, the First Amended Complaint should be dismissed in its entirety

under Rule 12(b)(1) or, alternatively, Rule 12(b)(6).




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                                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        On December 14, 2021, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).


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